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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

REBECCA MASTRO, on behalf of herself and all
others similarly-situated,

                      Plaintiff,
                                                        CLASS AND COLLECTIVE ACTION
               -against-                                COMPLAINT

RAP SUCCESS SYSTEMS, INC., REAL AGENT JURY TRIAL DEMANDED
PRO LLC f/k/a L.A.R.E MARKETING GROUP
LLC, L.A.R.E. PARTNERS NETWORK INC.,
ISAIAH COLTON in his professional and individual
capacities, and JOHN DOE and JANE DOE #1-10.

                      Defendants.


       Plaintiffs Rebecca Mastro (“Mastro”), (the “Plaintiff”), individually and on behalf of all

other persons similarly situated, by and through her attorneys, Stevenson Marino LLP, file this

Complaint against RAP Success Systems, Inc, (“RAP Success”), Real Agent Pro LLC (“Real

Agent”), L.A.R.E. PARTNERS NETWORK INC. (“L.A.R.E. Partners Network”), the individual

Defendant Isaiah Colton (“Colton”), in his professional and individual capacities, and John Doe

and Jane Doe #1-10 (collectively, the “Defendants”), alleges upon knowledge as to herself and

upon information and belief as to all other matters as follows:

                                       INTRODUCTION

               Defendant RAP Success Systems, Inc. is a corporation organized pursuant to the

laws of New York with a principal place of business located at 343 State Street, Suite 1002,

Rochester, New York 14650.




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               Defendant Real Agent Pro LLC is a New York based Limited Liability Company

with its principal place of business located at 343 State Street, Suite 1002, Rochester, New York

14650.

               Defendant L.A.R.E. Partners Network is a corporation organized pursuant to the

law of New York with a principal place of business located at 343 State Street, Suite 1002,

Rochester, New York 14650.

               Defendant Colton is an individual who at all relevant times resided in the State of

New York.

               Plaintiff Mastro and the other individuals who worked for Defendants and the

worked as inside sales representatives in excess of forty (40) hours per week, but were paid on a

salary basis, and were not paid overtime for hours worked in excess of forty (40).

               Plaintiff was hired by Defendants in or about October 31, 2016, and was terminated

on July 8, 2019. At the time of her termination, she was a Sales Director, earning a $42,000 base

salary plus commissions. At all times (other than when she was on leave), she worked in excess of

40 hours per week but never received overtime.

               Plaintiff and all similarly situated current and former employees that were paid a

salary and whose principal job function was to perform sales principally at Defendants’ office are

non-exempt from overtime (hereinafter, the “Putative Collective/Class Members”).

               Plaintiff and the Putative Collective/Class Members are entitled to receive overtime

for hours worked in excess of forty in a workweek.

               In addition, Defendants discriminated against Plaintiff Mastro on the basis of her

sex/pregnancy, failed to accommodate her when she underwent surgery, retaliated against her for

taking FMLA leave, and paid her less than her male colleagues for performing the same work.




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Defendants’ justification for terminating Ms. Mastro was inconsistent. First, Jim Marra, HR, stated

over the phone to Ms. Mastro that they were cutting her position, as they had restructuring. Later,

Mr. Marra advised via a July 9, 2019 letter that she did not come back to work on June 26, so they

terminated her because “other arrangements needed to be made.” Lastly, Mr. Colton advised that

Ms. Mastro’s employment was performance based, as she purported failed to fulfill clients. None

of the foregoing representations were true.1

               In addition, Defendants routinely failed to pay Plaintiff and the Putative

Collective/Class Members all amounts due on nearly a monthly basis. As a result, 100% liquidated

damages are due on all untimely payments plus $250 per incorrect wage statement under the New

York Labor Law § 195 up to $5,000 per person.

               Accordingly, Plaintiff brings this Action on behalf of herself and all current and

former employees of Defendants who from three years preceding the filing of this Complaint

through the disposition of this Action were employees that were paid a salary and whose principal

job function was to perform sales principally at Defendants’ office and were not paid overtime pay

when they worked more than 40 hours in a workweek in violation of the FLSA (collectively, the

“FLSA Collective”).

               Plaintiff further brings this Action on behalf of herself and all current and former

employees of Defendants who were paid a salary and whose principal job function was to perform

sales principally at Defendants’ New York office(s) from six years preceding the filing of this

Complaint through the disposition of this Action (1) did not receive overtime pay when working

in excess of forty (40) hours per week; (2) did not timely receive all compensation in a timely




1
 Plaintiff is not asserting a claim for discrimination at this time but is simultaneously filing a
charge with the EEOC, and will seek leave to amend the Complaint once right to sue is granted.

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manner when due; (3) did not receive the required Notice and Acknowledgment of Pay form in

violation of NYLL §195; and (4) did not receive accurate wage statements in violation of NYLL

§ 195 (collectively, the “NY Class”).

                                  JURISDICTION AND VENUE

               This Court has original jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §

1331, as to the claims pursuant to 29 U.S.C § 201, et seq..

               This Court has supplemental jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1367, as to the NYLL claims

               This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

                                            PARTIES

               At all relevant times herein, Plaintiff is considered a "person" and an "employee"

entitled to protection as defined by the FLSA and NYLL.

               Plaintiff Mastro is an adult individual over the age of 18, residing in Rochester New

York.

               Defendants employed Plaintiff Mastro from on or about October 2016 through July

of 2019. At the time of Plaintiff’s termination, Plaintiff Mastro was employed as a Sales Director.

               Defendant RAP Success is a corporation organized under the laws of the State of

New York that owns and operates a software company that provides CRM software aimed at the

Real Estate Brokerage industry.

               Defendant RAP Success’s principal place of business is located at 343 State Street,

Suite 1002, Rochester, New York 14650.




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                Defendant Real Agent is a limited liability company organized under the State of

New York that owns and operates a software company that provides CRM software aimed at the

Real Estate Brokerage industry.

                Defendant Real Agent’s principal place of business is located at 343 State Street,

Suite 1002, Rochester, New York 14650.

                L.A.R.E. Partners Network is corporation organized under the laws of the State of

New York that owns and operates a software company that provides CRM software aimed at the

Real Estate Brokerage industry.

                Defendant L.A.R.E. Partners Network principal place of business is located at 343

State Street, Suite 1002, Rochester, New York 14650.

                Defendant Colton is an adult individual over the age of 18, residing in New York.

                At all relevant times herein, Defendant Colton is an owner of Defendants RAP

Success and Real Agent, and, therefore, is personally liable for the wages of the employees of the

Defendants pursuant to Business Corporation Law § 630, to which Plaintiff intends to hold Colton

liable under.

                Defendants John Doe and Jane Doe #1-10 are as-yet unidentified owners, officers,

shareholders, and managers of Defendants Rap Success and Real Agent. At all times relevant to

the allegations herein, they had the power to hire and fire employees at Defendants Rap Success

and Real Agent, established their wages, set their work schedules, and maintained their

employment records.

                Defendants Rap Success and Real Agent had annual gross revenues in excess of

$500,000 for all relevant periods herein.




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               At all relevant times the Defendant RAP Success has been and continues to be an

employer engaged in interstate commerce and/or the production of goods for commerce, within

the meaning of FLSA 29 U.S.C. §§ 206(a) and 207(a).

               Defendant Real Agency had annual gross revenues in excess of $500,000 for all

relevant periods herein.

               At all relevant times the Defendant Real Agency has been and continues to be an

employer engaged in interstate commerce and/or the production of goods for commerce, within

the meaning of FLSA 29 U.S.C. §§ 206(a) and 207(a).

                             Defendants Constitute Joint Employers

               The Defendants operate in concert and together in a common enterprise and through

related activities, so that the actions of one may be imputed to the other, and/or they operate as

joint employers within the meaning of the FLSA, and/or were otherwise legally responsible for

the matters alleged in this Complaint and proximately caused Plaintiff, the FLSA Collective

Members and the NY Class Members to be subject to the unlawful pay practices described in this

Complaint.

               Defendants own(ed), operate(d) and/or control(led) a software company that

provides CRM software aimed at the Real Estate Brokerage industry.

               Individual Defendants Isaiah Colton possess(ed) operational control over Defendant

Corporations, possess(ed) an ownership interest in Defendant Corporations, and control(led)

significant functions of Defendant Corporations.

               Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.




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               Each Defendant possessed substantial control over Plaintiff, the FLSA Collective

Members and the NY Class Members’ working conditions, and over the policies and practices

with respect to the employment and compensation of Plaintiff, the FLSA Collective Members and

the NY Class Members,.

               Defendants jointly employed Plaintiff, the FLSA Collective Members and the NY

Class Members, and are Plaintiff, the FLSA Collective Members and the NY Class Members,

employers within the meaning of 29 U.S.C. § 201 et seq. and the NYLL.

               In the alternative, Defendants constitute a single employer of Plaintiff, the FLSA

Collective Members and the NY Class Members,

               Upon information and belief, Individual Defendant Isaiah Colton operates

Defendant Corporations as either alter egos of themselves, and/or fails to operate Defendant

Corporations as entities legally separate and apart from themselves, by, among other things:

           a. failing to adhere to the corporate formalities necessary to operate Defendant

               Corporations as separate and legally distinct entities;

           b. defectively forming or maintaining Defendant Corporations, by among other things

               failing to hold annual meetings or maintaining appropriate corporate records;

           c. transferring assets and debts freely as between all Defendants;


           d. operating Defendant Corporations for their own benefit as the sole or majority

               shareholders;

           e. operating Defendant Corporations for their own benefit and maintaining control over

               these entities as closed corporations or closely controlled entities;

           f. intermingling assets and debts of their own with Defendant Corporations;




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           g. diminishing and/or transferring assets of Defendant Corporations to protect their

               own interests; and

           h. other actions evincing a failure to adhere to the corporate form.

               At all relevant times, Defendants were Plaintiff, the FLSA Collective Members and

the NY Class Members, employers within the meaning of the FLSA and NYLL.



               Defendants had the power to hire and fire Plaintiff, the FLSA Collective Members

and the NY Class Members, control the terms and conditions of employment, and determine the rate

and method of any compensation in exchange for Plaintiffs' services.

               In each year from 2013 to 2019, Defendants, both individually and jointly, had gross

annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level that are

separately stated).

               In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. For example, Defendants regular contacted Real Estate

Agents located outside of the State of New York to sell their software products.

               Collectively, Defendants have directed the work of Plaintiff, the FLSA Collective

Members and the NY Class Members, and have benefited from work performed that Defendants

suffered or permitted from them.

               Plaintiff Mastro, and the similarly situated FLSA Collective Members and NY

Class Members worked in excess of 40 hours per workweek, without receiving overtime

compensation as required by the FLSA and NYLL.

               Plaintiff Mastro, and similarly situated the FLSA Collective Members and the NY

Class Members worked in excess of 40 hours per workweek, without receiving overtime

compensation as required by the FLSA and NYLL.


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                        FACTUAL ALLEGATIONS REGARDING
                           FAILURE TO PAY OVERTIME

              Plaintiff and the Putative FLSA Collective Members and the NY Class Members

worked in excess of forty (40) hours per week but were not paid overtime for hours in excess of

forty (40).

              While Defendants paid Plaintiff and the Putative FLSA Collective Members and

the NY Class Members a salary plus commission, they failed to pay Plaintiff and the Putative

FLSA Collective Members and the NY Class Members with overtime pay for hours worked in

excess of forty (40) in a workweek.

              Plaintiff typically worked from 7:30 am to 7 or 8 pm and on 1 or 2 Saturdays a

month from 10 am to 2 pm, for a total for average of 62 hours a week. All hours worked were

logged in the ZOHO CRM system.

               Plaintiff was paid a fixed weekly salary of $807.60 and was not paid overtime.

              Plaintiff and the Putative FLSA Collective Members and the NY Class Members

routinely worked between fifty (50) to sixty (60) hours in a workweek.

              The foregoing practice is not unique to Plaintiff, but is common and applied to the

Putative FLSA Collective Members and the NY Class Members. Plaintiff knows this practice is

not limited to herself because she spoke with other employees, including Steve Louhglin, Kate

Strader, Jibriel Strader, and Joshuwa Clark, who all shared the same experience of working in

excess of 40 hours and not receiving overtime.

              The foregoing practice violates the FLSA and NYLL.

                        FACTUAL ALLEGATIONS REGARDING
                          FAILURE TO TIMELY PAY WAGES




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               Defendants routinely engaged in a pattern and practice of arbitrarily failing to pay

Plaintiff her commissions and bonus due each month.

               Specifically, Defendants maintained commission incentives plans (“Commission

Plans”) as part of the compensation to incentivize Plaintiff Mastro and the Putative FLSA

Collective Members and the NY Class Members.

               Pursuant to the Commission Plans, Defendants were obligated to make payments

at the end of each month to Plaintiff Mastro and the Putative FLSA Collective Members and the

NY Class Members.

               Defendants routinely failed to pay Plaintiff Mastro and the Putative FLSA

Collective Members and the NY Class Members all of the compensation owed to them under the

Commission Plan at the end of each month.

               For example, Defendants failed to pay Plaintiff a commission on the Peter Nemethy

deal which was a 6-month paid in full Facebook lead generation package (top package offering).

Plaintiff should have been paid a commission of $1000 for it.

               Plaintiff Mastro is also owed compensation under the Commission Plans that has

never been paid.

               For Example, Defendants failed to pay Plaintiff her bonus in Jan 2019 for hitting

her ACH bonus.

               Defendants also routinely failed to pay out residual income and when Defendants

did pay it out, it was not accurate.

               For example, for every deal Plaintiff closed from the date of hire, if the customers

were still active clients, Plaintiff was required to be paid out 1-3% total revenue for each renewed




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deal. Plaintiff had closed over 145 deals, but was only ever paid residual income for two months.

The residual income Plaintiff was paid was less than $400 and was not accurate.

               When Plaintiff advised Defendants to provide the commission run because it was

wrong, Defendants refused to provide the commission run.

               Plaintiff Mastro is aware that the Putative FLSA Collective Members and the NY

Class Members had the same experience because she spoke with Steve Louhglin, Kate Strader,

Jibriel Strader, and Joshuwa Clark, who confirmed that their payments were similarly late and they

are all still owed commissions.

                 FIRST CLAIM FOR RELIEF AGAINST DEFENDANTS
            (FAIR LABOR STANDARDS ACT: UNPAID OVERTIME WAGES)


               Plaintiff Mastro and, on behalf of herself and the FLSA Collective Members,

realleges and incorporates by reference paragraphs 1 through 64, as if they were set forth again

herein.

               Defendant employed Plaintiff Mastro and the FLSA Collective Members within the

meaning of the FLSA.

               Plaintiff Mastro and the FLSA Collective Members are or were “employees” within

the meaning the FLSA when the Defendants were a covered “employer” within the meaning of

the FLSA.

               Defendants engaged in a widespread pattern and practice of violating the FLSA, as

detailed in this Complaint.

               Plaintiff Mastro consents in writing to be a party to this action, pursuant to 29

U.S.C. § 216(b).




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               The overtime wage provisions set forth in 29 U.S.C. §§ 201, et seq., apply to

Defendants.

               Defendants had a policy and practice of having employees work in excess of forty

(40) hours per week without paying them overtime. Plaintiff and the FLSA Collective Members

were/are paid a weekly salary, and were not paid for hours worked in excess of forty (40). Plaintiff

and the FLSA Collective Members were paid a salary and whose principal job function was to

perform sales principally at Defendants’ office and are non-exempt employees, not subject any

exemption.

               As a result of Defendants’ willful failure to compensate Plaintiff and the FLSA

Collective Members at a rate not less than one and one-half for work performed in excess of 40

hours in a workweek, Defendants have violated and, continue to violate, the FLSA, 29 U.S.C. §§

201, et seq., including 29 U.S.C. §§ 207(a)(1) and 215(a).

               Defendants knew and/or showed reckless disregard that their conduct was

prohibited by 29 U.S.C. §§ 255(a).

               As a result of Defendants’ FLSA violations, Plaintiff and the FLSA Collective

Members are entitled to recover from Defendants (a) overtime compensation; (b) an additional,

equal amount as liquidated damages for Defendants’ willful violations of the FLSA; and (c)

reasonable attorneys’ fees, and costs and disbursements in this action, pursuant to 29 U.S.C. §

216(b).

               Because Defendants’ violations of the FLSA lacked good faith, a three-year statute

of limitations applies pursuant to 29 U.S.C. § 255.

                SECOND CLAIM FOR RELIEF AGAINST DEFENDANTS
                    (NYLL AND NYCCRR: UNPAID OVERTIME)




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               Plaintiffs Mastro and the NYLL Class Members reallege and incorporate by

reference paragraphs 1 through 75, as if they were set forth again herein.

               N.Y. Lab. Law § 160 and NYCCRR tit. 12, § 142-2.2 require employers to

compensate their employees at a rate not less than one and one-half times their regular rate for any

hours worked exceeding forty in a workweek.

               As described above, Defendants are an employer within the meaning of the NYLL,

while Plaintiff and the Putative NY Class Members are/or were employees within the meaning of

the NYLL.

               As also described above, Defendants misclassified Plaintiff and the Putative NY

Class Members as exempt and thus failed to pay Plaintiff and the Putative NY Class for hours

worked in excess of forty (40) per week, and thus failed to pay Plaintiff and the Putative NY Class

in accordance with the NYLL's and NYCCRR's overtime provisions.

               Defendants' actions were in willful violation of the NYLL and NYCCRR.

               Plaintiffs are entitled to their overtime pay for all hours worked in excess of forty

at the rate of one and one-half times their respective rates of pay.

               Plaintiffs are also entitled to liquidated damages, interest, and attorney's fees for the

Defendants' willful violation of the NYLL's and NYCCRR's overtime provisions.

                  THIRD CLAIM OF RELIEF AGAINST DEFENDANTS
                 (NEW YORK LABOR LAW: FAILURE TO PAY WAGES)

               Plaintiffs Mastro and the Putative NY Class Members reallege and incorporate by

reference paragraphs 1 through 82, as if they were set forth again herein.

               NYLL §§ 190, 191 and 663(1) require that employers pay wages to their employees

in accordance with the agreed terms of employment.




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               As described above, Defendants are an “employer” within the meaning of the

NYLL, while Plaintiffs were "employees" within the meaning of the NYLL.

               As also described above, Defendants failed to timely provide all compensation to

Plaintiff and the Putative NY Class Members pursuant to compensation owed to plaintiff and the

Putative NY Class Members under the Commission Plan.

               Defendants' actions were in willful violation of the NYLL.

               Plaintiff and the Putative NY Class Members are entitled pursuant to all

compensation owed under the Commission Plans.

               Plaintiff and the Putative NY Class Members are also entitled to liquidated

damages, interest, and attorney's fees for the Defendants' willful failure to pay wages in violation

of the NYLL.

            FOURTH CLAIM OF RELIEF AGAINST DEFENDANTS
     (NEW YORK LABOR LAW: FAILURE TO COMPANY WITH NOTICE AND
                  RECORDKEEPING REQUIREMENTS)


               Plaintiffs Mastro and the Putative NY Class Members reallege and incorporate by

reference paragraphs 1 through 89, as if they were set forth again herein.

               NYLL § 195(4) requires, among other things, that Defendants establish and

maintain, for at least six years payroll records showing the hours worked, gross wages, deductions

and net wages for each employee.

               NYLL § 661 requires that Defendants establish and maintain, inter alia, true and

accurate records of hours worked by each employee covered by an hourly minimum wage rate,

and the wages paid to all employees.

               12 N.Y.C.R.R. § 142-2.6 requires New York Defendants to establish, maintain and

preserve, for six years, weekly payroll records showing, inter alia, each employee’s name, wage



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rate, number of hours worked daily and weekly, amount of gross and net wages, deductions from

gross wages, and any allowances claimed as part of the minimum wage.

               NYLL § 195(3) requires that Defendants furnish each of its employees with a

statement with each payment listing gross wages, deductions and net wages, and upon request of

an employee, an explanation of the computation of wages.

               N.Y.C.R.R. § 142-2.7 requires Defendants to furnish each employee with a

statement with each payment of wages, listing hours worked, rates paid, gross and net wages,

deductions, and allowances, if any, claimed as part of the minimum wage.

               Defendants did not provide Mastro and the Putative NY Class Members with the

requisite notices and statements described above in the foregoing paragraphs.

               As a result of Defendants failure to comply with the notice and record keeping

requirements of NYLL § 195(a) and 195(3), Plaintiff and the Putative NY Class Members are

entitled to recover from Defendants all penalties as provided by NYLL § 198(1)b and 198(1)d).

                                DEMAND FOR A JURY TRIAL


               Plaintiff and Putative FLSA Collective and the NY Class Members demand a trial

by jury on all issues and claims in this Action.

                                     PRAYER FOR RELIEF


               WHEREFORE, Plaintiff Mastro, the NYLL Class, and the FLSA Collective are

entitled to and pray for the following relief:

               Designation of this Action as a FLSA collective action on behalf of the Plaintiff

Mastro and the FLSA Collective Members and prompt issuance of notice pursuant to 29 U.S.C. §

216(b) to members of the FLSA Collective, apprising them of the pendency of this action,




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permitting them to assert timely FLSA claims in this action by filing individual consents to sue

pursuant to 29 U.S.C. § 216(b), and tolling the statute of limitations;

               A declaratory judgment that Defendants’ practices complained of herein are

unlawful under the FLSA, New York Labor Law, and common law;

               An award of unpaid wages for all hours worked in excess of 40 in a workweek at a

rate of one and one-half times the weighted average rate of pay under the FLSA and/or the NYLL,

plus liquidated damages;

               An award of all unpaid compensation due under the Commission Plans, plus

liquidated damages pursuant to the FLSA and NYLL;

               An award of damages representing Defendants’ share of FICA, FUTA, state

unemployment insurance, and any other required employment taxes;

               Penalties under NYLL §§ 198(1)(b) and 198(1)(d) for the Defendants’ failure to

comply with the notice and record keeping requirements of NYLL §§ 195(1) and 195(3);

               An award of pre-judgment and post-judgment interest;

               An award of costs and expenses of this action together with reasonable attorneys’

and expert fees and an award of service payments to Plaintiff Mastro; and

               Such other and further relief as this Court deems just and proper.

       Dated: New York, New York                      Stevenson Marino LLP
              January 2, 2020                         Attorneys for Plaintiff s


                                                      By:     /s/ Justin R. Marino
                                                      Justin R. Marino
                                                      (212) 939.7228 (o)
                                                      (212) 531-6129 (f)
                                                      jmarino@stevensonmarino.com




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      NOTICE OF INTENTION TO ENFORCE SHAREHOLDER LIABILITY FOR
                          SERVICES RENDERED

To:    Ten Largest Shareholders of RAP SUCCESS SYSTEMS, INC.,
       343 State Street, Suite 1002
       Rochester, NY 14650

To:    Isaiah Colton
       c/o RAP SUCCESS SYSTEMS, INC.,
       343 State Street, Suite 1002
       Rochester, NY 14650



PLEASE TAKE NOTICE, that pursuant to the provisions of Section 630 of the Business
Corporation Law of New York, Isaiah Colton and the ten largest shareholders of RAP SUCCESS
SYSTEMS, INC., as well as any affiliated companies that employed Ms. Mastro and all
individuals similarly situated, are hereby notified that Plaintiff Mastro, and others similarly
situated who were unlawfully denied overtime, gap time, and straight time wages, intend to
charge you and hold you personally liable, jointly and severally, for all debts, wages, and/or
salaries due and owing to them as laborers, servants and/or employees of the said corporation for
services performed by them for the said corporations within the six (6) years preceding the date
of this notice and have expressly authorized the undersigned, as their attorney, to make this
demand on their behalf.

Dated: New York, New York                   Stevenson Marino LLP
       January 2, 2020                             Attorneys for Plaintiffs


                                                    By:     /s/ Justin R. Marino____.
                                                           Justin R. Marino
                                                    (212) 939.7228 (o)
                                                    (212) 531-6129 (f)
                                                    jmarino@stevensonmarino.com
                                                    75 Maiden Lane, Suite 402
                                                    New York, New York 10038
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      NOTICE OF INTENTION TO ENFORCE SHAREHOLDER LIABILITY FOR
                          SERVICES RENDERED

To:    Ten Largest Shareholders of REAL AGENT PRO LLC f/k/a
       L.A.R.E MARKETING GROUP LLC,
       343 State Street, Suite 1002
       Rochester, NY 14650

To:    Isaiah Colton
       c/o REAL AGENT PRO LLC f/k/a
       L.A.R.E MARKETING GROUP LLC,
       343 State Street, Suite 1002
       Rochester, NY 14650



PLEASE TAKE NOTICE, that pursuant to the provisions of Section 630 of the Business
Corporation Law of New York, Isaiah Colton and the ten largest shareholders of REAL AGENT
PRO LLC f/k/a L.A.R.E MARKETING GROUP LLC, as well as any affiliated companies that
employed Ms. Mastro and all individuals similarly situated, are hereby notified that Plaintiff
Mastro, and others similarly situated who were unlawfully denied overtime, gap time, and
straight time wages, intend to charge you and hold you personally liable, jointly and severally,
for all debts, wages, and/or salaries due and owing to them as laborers, servants and/or
employees of the said corporation for services performed by them for the said corporations
within the six (6) years preceding the date of this notice and have expressly authorized the
undersigned, as their attorney, to make this demand on their behalf.

Dated: New York, New York                   Stevenson Marino LLP
       January 2, 2020                             Attorneys for Plaintiffs


                                                    By:     /s/ Justin R. Marino____.
                                                           Justin R. Marino
                                                    (212) 939.7228 (o)
                                                    (212) 531-6129 (f)
                                                    jmarino@stevensonmarino.com
                                                    75 Maiden Lane, Suite 402
                                                    New York, New York 10038
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      NOTICE OF INTENTION TO ENFORCE SHAREHOLDER LIABILITY FOR
                          SERVICES RENDERED

To:    Ten Largest Shareholders of L.A.R.E. PARTNERS NETWORK INC.,
       343 State Street, Suite 1002
       Rochester, NY 14650

To:    Isaiah Colton
       c/o L.A.R.E. PARTNERS NETWORK INC.,
       343 State Street, Suite 1002
       Rochester, NY 14650



PLEASE TAKE NOTICE, that pursuant to the provisions of Section 630 of the Business
Corporation Law of New York, Isaiah Colton and the ten largest shareholders of L.A.R.E.
PARTNERS NETWORK INC., as well as any affiliated companies that employed Ms. Mastro
and all individuals similarly situated, are hereby notified that Plaintiff Mastro, and others
similarly situated who were unlawfully denied overtime, gap time, and straight time wages,
intend to charge you and hold you personally liable, jointly and severally, for all debts, wages,
and/or salaries due and owing to them as laborers, servants and/or employees of the said
corporation for services performed by them for the said corporations within the six (6) years
preceding the date of this notice and have expressly authorized the undersigned, as their attorney,
to make this demand on their behalf.

Dated: New York, New York                    Stevenson Marino LLP
       January 2, 2020                              Attorneys for Plaintiffs


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